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MICHAEL T. FARLEY _
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mirieyesg@yanen.com _ DISTRICT OF DELAWARE |—

 

 

March 13, 2021

Office of the Clerk °

United States District Court
844 North King St Unit 18
‘Wilmington, DE 19801-3570

Dear Sir or Madam:
Enclosed pursuant to the Local Rules are the following:

e Reply Memorandum Regarding Motion to Disqualify

Thank you for your courtesy and cooperation.

Very Trily Yours,

 

Michael T Farley

MTF/cc

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